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"17-000151993*

 

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JIMMY PATRON[S
sT»\TE

OF FLDRIDA

 

ROBERT DICK CASE #: 2017 CA 001654

couRT: y CIRCUIT coURT
4 couNTY:. LEoN
PLAINTIFF(s) ' DFs-soP #: 17-000151993
vs.

DEPOSITORS INSURANCE COMPANY

DEFENDANT(s)

 

SUMMONS, COMPLAINT

NoTICE or siERVICE 0F PROCESS

' NOTICE IS HEREBY GIVEN of acceptance of Service of Process by the Chief Financial Officer of the
State of Florida. Said process was received in my office’by PROCESS SERVER on Thursday, August 10,
2017 and a copy was forwarded by ELECTRONIC DELIVERY on Monday, August 14, 2017 to the
designated agent for the named entity as shown below. `

DEPOSITORS INSURANCE COMPANY
LYNETTE COLEMAN

1201 HAYS STREET
TALLAHASSEE FL 32301

*Our office will only serve the initial process(Summons and Complaint) or Subpoena and is not responsible
for transmittal of any subsequent fillings, pleadings, or documents unless otherwise ordered by the Coul;t
pursuant to Florida Rules of Civil Procedure, Rule #1.080

Wm

` Jimmy Patronis
Chief Financial Officer

JOHN H. FOOTE
222 W. 6'I`H AVE.
TALLAHASSEE FL 32303 United States v 1

Office of the Genera| Counse| - Service of Process Section

200 East Gaines Street ~ P.O. Box 6200 - Ta||ahassee, FL 32314-6200 - (850)413-4200
c

RECE|VED AS STATUTORY REG|STERED AGENT
on 10 August, 2017 and served on defendant or named party on 14 August, 2017
by the Florida Department of Financia| Services

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'Filing # 60156669 E-Filed 08/09/2017 11:16:14 AM

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IN THE CIRCUTT COURT OF THE
SECOND JUDIClAL CIRCUIT, IN '
AND FOR LEON»COUNTY, FL

 

RoBERT DIcK,

Piaimiff,
vs_. " ’ cAsE No.: 2017 cA 001654
DEPOSITORS INSURANCE
coMPANY,

Defendant. ` "

v /
S~UMMONS

THE STATE OF FLORIDA:

 

To All and Singular the Sheriffs of said State:

YOU ARE HEREBY C_OMMANDED to serve this summons and a copy of the complaint or
petition in the above styled cause upon the defendant

Depositors Insurance Company

c/o Florida Chief Financial Ofi`icer as RA
200 E. Gaines St.

Tallahassee, FL 32399-4201

h
v

Each defendant is hereby required to serve written defenses to said complaint or petition.on: _

JoHN H. FooTE ""“"'"
THE FOOTE LAW FIRM

plaintiffs attorney, whose address is: 222 W. 6TH AVENUE
TALLAHASSEE, FL 32303
(850) 224-1080

j ohn@footelawfirm,com

within 20 days after service of this summons upon you, exclusive of the day of service, and to
file the original of said defenses with the clerk_ of said court whether before`service on plaintist
attorney or immediately thereafter If you fail to do so, a default will be entered against you for

 

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the relief demanded in the complaint or petition.

- /
WITNESS MY HAND AND SEAL of said Coult.

 

DATE: 8/9/201 7 y
` As Clerk of said Circuit Court a

__ Byj%LM¢-y® D.C.

 

Case 4:17-0\/- -00397- |_\/|W- CAS Dooument 1- 1 Filed 09/01/17 Page 4 of 5

`;l*iling # 60156669 E Filed 08/09/2017 11: 16: 14 AM ,

IN THE CIRCUIT COURT OF THE
SECOND IUDlClAL CIRCUIT, IN
AND FOR LEON CCUNTY, FL

 

ROBERT DICK,

Plaintiff,
vs. CASE NO.: 2017 CA 001654
DEPOSITORS INSURANCE
COMPANY,

Defendant.

/
COMPLAINT FOR lDAMAGES

The Plaintiff, Robert Dicl<, sues the Defendant, Depositors lnsurance Company, and
alleges:

l. This is an action for damages in excess of $15,000.00. Venue and jurisdiction are
vested in the Circuit Court of the Second,Judicial Circuit, in and for Leon County, Florida.
Plaintiff demands a trial by jury.

2. The parties are: n b

a) The Plaintiff, Robert Dick, is sui juris and resides in Tallahassee, Florida;

~ 'b) The Defendant, Depositors Insurance Company, is a corporation registered
to do business in the State of Florida and doing substantial business in Leon_County, Florida,
including the issuance and delivery of the.insurance policy that is at issue.

3. On July 2, 2016, in Tallahassee, Florida, the Plaintiff, Robert Dick, was injured
by an unidentified motorist and was at that time insured under a policy containing

Uriinsured/Underinsured Mo'torist coverage issued by the Defendant, Depositors Insurance

Company. Copies of the policy and applicable endorsements are within the possession of

 

 

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Defendant Depositors Insurance Company.

4. At that time and place, the Plaintiff, Robert Dick, was injured in an
automobile/bicycle accident caused by the negligence of an unidentified driver, while the
aforesaid policy was in full force and effect.

5. As a result of the unidentified status of the other driver,the Plaintiff, Robert Dick,'
is entitled to the benefits of his UM coverage. The»Defendant, Depositors Insurance Company,
has failed to pay Plaintiff the benefits due andpayable under said policy. n

6. Plaintiff has complied with all conditions precedent.

WHEREFORE, Plaintiff, Robert Dick demands judgment for damages against the
Defendant, Depositors Insurancel Company, together with prejudgment interest as permitted, the
costs of this action and such other relief as may be deemed just and proper. `Plaintiff demands a
trial by jury. b

Fiied this 9rh day of Augusi, 2017.
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John H. Foote

THE FOOTE LAW FIRM `

FL BAR ID No. 0871230

222 w. 6th Ave.

Tallahassee, FL 32303 .
_850-224-1080 FAX 850-224~1081
Attomey for Plaintiff '

john§d):footelawf`irm.com
]'anice@footelawfirm.com

 

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